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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                                Chapter 11

NNN 400 CAPITOL CENTER 26, LLC,                       Case No. 16-12747 (KG)

                Debtor.


                    SCHEDULES OF ASSETS AND LIABILITIES AND
                       STATEMENT OF FINANCIAL AFFAIRS

         The above-captioned debtor and debtor-in-possession (the “Debtor”), hereby submits its

Schedules of Assets and Liabilities (the “Schedules”) and Statement of Financial Affairs (the

“Statement”) pursuant to 11 U.S.C. § 521 and Rule 1007 of the Federal Rules of Bankruptcy

Procedure.

                      DISCLAIMER AS TO DEBTOR’S SCHEDULES
                                AND STATEMENT

     THE ATTACHED SCHEDULES AND STATEMENT AND ALL OTHER
INFORMATION CONTAINED THEREIN HAVE BEEN PREPARED BY THE DEBTOR
AND THE DEBTOR IN POSSESSION HEREIN. THE DEBTOR HAS ATTEMPTED TO
PROVIDE COMPLETE AND ACCURATE INFORMATION, BUT RESERVES ITS RIGHTS
TO AMEND AND/OR SUPPLEMENT THESE SCHEDULES AND STATEMENT IN
WHOLE OR IN PART.

        The Schedules and Statement are submitted subject to, inter alia, the following
qualifications:

       Nothing contained herein constitutes a waiver of any of the Debtor’s claims or rights,
including, but not limited, any right of setoff, counter-claims, defenses or affirmative defenses.

       The omission of any claim or cause of action assertable by the Debtor does not constitute
a waiver of such claim or cause of action.

        Where values are shown for the Debtor’s assets, the values reflect the carrying values of
those assets as presented in the Debtor’s books and records as of the date indicated. The values
are not and should not be deemed as admissions, representations or waivers with respect to actual
value of assets.
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       The actual realizable values and/or fair market values for assets may differ significantly
from their respective carrying values.

                    GENERAL NOTES REGARDING THE DEBTOR'S
                         SCHEDULES AND STATEMENTS

        Please note that items contained in the Debtor’s Schedules and Statement that are global
to all of the Debtors (e.g., legal fee retainers, common bank accounts, general unsecured claims,
operating income, and payments to creditors, i.e., those items related to the management of the
real property in which the Debtor has an undivided tenant-in-common ownership interest (the
“Real Property”)) have not been allocated to the particular Debtor in terms of its ownership
interest in the Real Property.




2224011




                                               2
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 Fill in this information to identify the case:

 Debtor name         NNN 400 Capitol Center 26, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         16-12747
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          01/14/2017                              X /s/ Michael Eidel
                                                                       Signature of individual signing on behalf of debtor

                                                                       Michael Eidel as Attorney-In-Fact for Doris Eidel, on behalf of Z. Eidel Realty,
                                                                       LLC a New York LLC
                                                                       Printed name

                                                                        Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                            Case 16-12728-KG                                   Doc 62                Filed 01/14/17                        Page 4 of 49
 Fill in this information to identify the case:

 Debtor name            NNN 400 Capitol Center 26, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF DELAWARE

 Case number (if known)               16-12747
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        1,418,900.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,211,007.86

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        2,629,907.86


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       29,612,549.95


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           786,194.40


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         30,398,744.35




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
                                     Case 16-12728-KG                   Doc 62      Filed 01/14/17          Page 5 of 49
 Fill in this information to identify the case:

 Debtor name         NNN 400 Capitol Center 26, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         16-12747
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                $741.16



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Bank of Arkansas                                        Operating Account               3887                                  $543,938.95




           3.2.     Bank of Arkansas                                        Escrow Account                  3898                                    $41,963.61




           3.3.     Iberia Bank                                             Operating Account               1975                                    $24,085.88



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                   $610,729.60
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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                                     Case 16-12728-KG                       Doc 62         Filed 01/14/17           Page 6 of 49

 Debtor         NNN 400 Capitol Center 26, LLC                                                        Case number (If known) 16-12747
                Name

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                 21,214.97   -                                   0.00 = ....                  $21,214.97
                                              face amount                               doubtful or uncollectible accounts




           11b. Over 90 days old:                               541,363.29       -                                  0.00 =....                   $541,363.29
                                              face amount                               doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                                  $562,578.26
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last               Net book value of         Valuation method used    Current value of
                                                      physical inventory             debtor's interest         for current value        debtor's interest
                                                                                     (Where available)

 19.       Raw materials

 20.       Work in progress
           Communications Group
           TI is underway. Carpet,
           Desk, Paint, and
           Conference Room AV
           work to be finished by
           2/1/2017 at the latest.                                                                  $0.00                                         $30,000.00



 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Lightbulbs, plumbing
           supplies, electrical
           supplies, fixtures,
           ceiling tiles, textiles.                                                                 $0.00                                           $2,000.00




 23.       Total of Part 5.                                                                                                                   $32,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                           page 2
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                                     Case 16-12728-KG                     Doc 62        Filed 01/14/17      Page 7 of 49

 Debtor         NNN 400 Capitol Center 26, LLC                                                   Case number (If known) 16-12747
                Name


               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                       Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used      Current value of
                                                                                 debtor's interest      for current value          debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           7 desks, conference room table, 7 desk chairs;
           3 conference room chairs; 4 wingback chairs
           for reception and office; 2 stuffed chairs; 1
           captain chair; 4 filing cabinets; 3 credenzas; 2
           bookshelves; 2 conference chairs; 60 tables;
           175 chairs; 12 board room chairs, 1 board
           table; 4 HD TV"S 1 90" HD TV; projector;
           projector screen; 4 Large leather Chairs; 2
           digital directories; 1 digital signage board.                                       $0.00                                           $4,500.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           ESI Phone System. 7 computers, 6 monitors;
           watchguard; 2 Cannon Printers.                                                      $0.00                                           $1,000.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles
           42.1. Multiple pictures and past artwork and
                     collectibles from the previous
                     management and era of the building.                                       $0.00                                             $200.00




 43.       Total of Part 7.                                                                                                                   $5,700.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
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 Debtor         NNN 400 Capitol Center 26, LLC                                                Case number (If known) 16-12747
                Name


               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used       Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value           debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           2-1000 ton chillers, firepump and panel E8100
           series, Generator; Elevator Equipment;
           Escalators; miscellaneous Fitness Center gym
           equipment; work bench; roll around tool cart.                                    $0.00                                            Unknown




 51.       Total of Part 8.                                                                                                                   $0.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used      Current value of
           property                                       extent of           debtor's interest      for current value          debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 4
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 Debtor         NNN 400 Capitol Center 26, LLC                                                Case number (If known) 16-12747
                Name

            55.1.    3.500% undivided
                     tenant-in-common
                     interest in the
                     Regions Center
                     Building, 400 W.
                     Capitol Avenue, Little
                     Rock, Pulaski
                     County, Arkansas
                     72201. Appraised
                     value of Building is                 Tenants in
                     $40,540,000.00.                      Common                       Unknown         Appraisal                       $1,418,900.00




 56.        Total of Part 9.                                                                                                        $1,418,900.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used    Current value of
                                                                              debtor's interest        for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            400westcapitol.com                                                              $0.00                                           Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                  $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 5
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 Debtor         NNN 400 Capitol Center 26, LLC                                               Case number (If known) 16-12747
                Name

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
            Building currently has a right for suit on the contractor
            from 2015 for a flooring issue; contractor has currently
            worked out a good faith effort that will be completed in
            the 1st quarter of 2017.                                                                                                       Unknown
            Nature of claim
            Amount requested                                             $0.00



 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                                 $0.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 6
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 Debtor          NNN 400 Capitol Center 26, LLC                                                                      Case number (If known) 16-12747
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $610,729.60

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $562,578.26

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $32,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $5,700.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $1,418,900.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $1,211,007.86            + 91b.            $1,418,900.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,629,907.86




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 7
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                                       Case 16-12728-KG                    Doc 62           Filed 01/14/17          Page 12 of 49
 Fill in this information to identify the case:

 Debtor name          NNN 400 Capitol Center 26, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)              16-12747
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                     Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                 Amount of claim             Value of collateral
                                                                                                                                                 that supports this
                                                                                                                     Do not deduct the value     claim
                                                                                                                     of collateral.
        Wells Fargo Bank N.A. as
 2.1                                                                                                                    $29,612,549.95                $1,418,900.00
        Trustee                                       Describe debtor's property that is subject to a lien
        Creditor's Name                               3.500% undivided tenant-in-common interest
        c/o Wright, Lindsey &                         in the Regions Center Building, 400 W.
        Jennings LLP                                  Capitol Avenue, Little Rock, Pulaski County,
        Attn: Judy Simmons                            Arkansas 72201. Appraised value of Building
        Henry, Esq.                                   is $40,540,000.00.
        200 West Capitol Ave.,
        Suite 2300
        Little Rock, AR 72201
        Creditor's mailing address                    Describe the lien
                                                      Mortgage, Assignment of Leases and Rents,
                                                      Security Agreement and Fixture Filing
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative
        priority.                                        Disputed




                                                                                                                           $29,612,549.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                    95

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 2
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 Debtor       NNN 400 Capitol Center 26, LLC                                             Case number (if know)      16-12747
              Name

        Name and address                                                                        On which line in Part 1 did       Last 4 digits of
                                                                                                you enter the related creditor?   account number for
                                                                                                                                  this entity
        Meagen E. Leary, Esq.
        Duane Morris LLP                                                                        Line   2.1
        Spear Tower
        One Market Plaza, Suite 2200
        San Francisco, CA 94105

        Richard W. Riley, Esq.
        Jarrett P. Hitchings, Esq.                                                              Line   2.1
        Duane Morris LLP
        222 Delaware Ave., Suite 1600
        Wilmington, DE 19801




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 2 of 2
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                                    Case 16-12728-KG                     Doc 62          Filed 01/14/17                 Page 14 of 49
 Fill in this information to identify the case:

 Debtor name         NNN 400 Capitol Center 26, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)           16-12747
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $350.00
           Affordable Rooter Service, LLC                                       Contingent
           2803 Arbors Circle                                                   Unliquidated
           Bryant, AR 72022                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $852.29
           All Electric Supply Inc.                                             Contingent
           1301 Westpark Drive                                                  Unliquidated
           Little Rock, AR 72204                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $5,000.00
           Angie Pope                                                           Contingent
           45635 Big Canyon Street                                              Unliquidated
           Indio, CA 92201                                                      Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $997.44
           Arkansas Filter Inc.                                                 Contingent
           130 Brookswood Road                                                  Unliquidated
           Little Rock, AR 72120                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




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 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $659.45
          Arkansas Pro Wash, Inc.                                               Contingent
          11407 Baseline Road                                                   Unliquidated
          Little Rock, AR 72209                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Arkansas Softwater                                                    Contingent
          PO Box 131                                                            Unliquidated
          North Little Rock, AR 72115                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Arthur Cooley                                                         Contingent
          3843 Devonshire Drive                                                 Unliquidated
          Salisbury, MD 21804                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $771.16
          AT&T                                                                  Contingent
          P.O Box 105414                                                        Unliquidated
          Atlanta, GA 30348                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Barbara Hughes                                                        Contingent
          1350 West Horizon Ridge Parkway                                       Unliquidated
          Henderson, NV 89012                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,000.00
          Barbara Hughes - TIC Loan 1                                           Contingent
          1350 West Horizon Ridge Parkway                                       Unliquidated
          Henderson, NV 89012                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32.67
          Besser Hardware                                                       Contingent
          1015 Main Street                                                      Unliquidated
          Little Rock, AR 72202                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $289.83
          Bill's Lock and Safe                                                  Contingent
          1001 Pike Avenue                                                      Unliquidated
          North Little Rock, AR 72114                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Bradford Bodley                                                       Contingent
          2025 Fairview Ave., Unit C                                            Unliquidated
          Seattle, WA 98101                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Carl Kisner                                                           Contingent
          72300 Rancho Road                                                     Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Carol Gedeon                                                          Contingent
          1877 Derby Way                                                        Unliquidated
          Upland, CA 91784                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Charles Laird                                                         Contingent
          15951 Calle Rosas Way                                                 Unliquidated
          Redding, CA 96001                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $427.55
          Cintas Corp.                                                          Contingent
          102 Champs Boulevard                                                  Unliquidated
          Maumelle, AR 72113                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $145,000.00
          Colliers International Valuation                                      Contingent
          & Advisory Services, LLC                                              Unliquidated
          1 Allied Dr., Suite 1500                                              Disputed
          Little Rock, AR 77202
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $261.93
          Comcast                                                               Contingent
          P.O Box 530098                                                        Unliquidated
          Atlanta, GA 30353                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          David Taheri                                                          Contingent
          14874 Kernite Court                                                   Unliquidated
          Nevada City, CA 95959                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,500.00
          Dental & Medical Counsel                                              Contingent
          111 Deerwood Rd., Suite 340                                           Unliquidated
          San Ramon, CA 94583                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $140,000.00
          Doug Laird- TIC Loan 1                                                Contingent
          15951 Calle Rosas Way                                                 Unliquidated
          Redding, CA 96001                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Douglas and Katherine Bade                                            Contingent
          340 Fifth Avenue North                                                Unliquidated
          South St. Paul, MN 55075                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Douglas Meyer                                                         Contingent
          5318 Lake Bosworth Lane                                               Unliquidated
          Snohomish, WA 98290                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Edward and Rose Van Keulen                                            Contingent
          13750 Highway 5                                                       Unliquidated
          Young America, MN 55397                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $60,286.27
          Entergy                                                               Contingent
          P.O. Box 8101                                                         Unliquidated
          Baton Rouge, LA 70891                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,524.20
          First Guardian Group                                                  Contingent
          777 North First St., Suite 720                                        Unliquidated
          San Jose, CA 95115
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Grace Vincenti                                                        Contingent
          119 Via Lido Soud                                                     Unliquidated
          Newport Beach, CA 92663                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Harrison Energy Partners                                              Contingent
          1501 West Park Dr., Suite 9                                           Unliquidated
          Little Rock, AR 72204                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $51.00
          Hendrick Associates Inc                                               Contingent
          1201 Peachtree Street NE                                              Unliquidated
          400 Colony Square, #1900
                                                                                Disputed
          Atlanta, GA 30361
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Jack Brown                                                            Contingent
          5811 NW 81                                                            Unliquidated
          Wellsburg, NY 14894                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $54,447.56
          JK Janitorial Services                                                Contingent
          1515 Southeast 4th Street                                             Unliquidated
          Oklahoma City, OK 73129                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          John and Gloria Cummings                                              Contingent
          3111 NE 22nd Street                                                   Unliquidated
          Ft. Lauderdale, FL 33305                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Lorraine Bier                                                         Contingent
          8101 Asmara Drive                                                     Unliquidated
          Austin, TX 78750                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $156.49
          Midtown Mechanical Services, LLC                                      Contingent
          3019 River Ridge Road                                                 Unliquidated
          Benton, AR 72019                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $145,000.00
          Moses Tucker Real Estate, Inc.                                        Contingent
          200 River Market Avenue                                               Unliquidated
          Suite 501                                                             Disputed
          Little Rock, AR 77201
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NNN 400 Capitol Center 1, LLC                                         Contingent
          (Linda Markley)
                                                                                Unliquidated
          5150 Shoshone Avenue
          Encino, CA 91316                                                      Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NNN 400 Capitol Center 10 LLC                                         Contingent
          2711 Centerville Rd., Suite 400
                                                                                Unliquidated
          Wilmington, DE 19808
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NNN 400 Capitol Center 11 LLC                                         Contingent
          2711 Centerville Rd., Suite 400
                                                                                Unliquidated
          Wilmington, DE 19808
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NNN 400 Capitol Center 12 LLC                                         Contingent
          2711 Centerville Rd., Suite 400
                                                                                Unliquidated
          Wilmington, DE 19808
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NNN 400 Capitol Center 13 LLC                                         Contingent
          2711 Centerville Rd., Suite 400
                                                                                Unliquidated
          Wilmington, DE 19808
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NNN 400 Capitol Center 14 LL                                          Contingent
          2711 Centerville Rd., Suite 400
                                                                                Unliquidated
          Wilmington, DE 19808
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NNN 400 Capitol Center 15 LLC                                         Contingent
          2711 Centerville Rd., Suite 400
                                                                                Unliquidated
          Wilmington, DE 19808
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NNN 400 Capitol Center 16 LLC                                         Contingent
          2711 Centerville Rd., Suite 400
                                                                                Unliquidated
          Wilmington, DE 19808
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NNN 400 Capitol Center 17 LLC                                         Contingent
          2711 Centerville Rd., Suite 400
                                                                                Unliquidated
          Wilmington, DE 19808
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NNN 400 Capitol Center 18 LLC                                         Contingent
          2711 Centerville Rd., Suite 400
                                                                                Unliquidated
          Wilmington, DE 19808
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NNN 400 Capitol Center 19 LLC                                         Contingent
          2711 Centerville Rd., Suite 400
                                                                                Unliquidated
          Wilmington, DE 19808
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NNN 400 Capitol Center 2, LLC                                         Contingent
          2711 Centerville Rd., Suite 400
                                                                                Unliquidated
          Wilmington, DE 19808
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NNN 400 Capitol Center 20 LLC                                         Contingent
          2711 Centerville Rd., Suite 400
                                                                                Unliquidated
          Wilmington, DE 19808
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NNN 400 Capitol Center 21 LLC                                         Contingent
          2711 Centerville Rd., Suite 400
                                                                                Unliquidated
          Wilmington, DE 19808
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NNN 400 Capitol Center 22 LLC                                         Contingent
          2711 Centerville Rd., Suite 400
                                                                                Unliquidated
          Wilmington, DE 19808
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NNN 400 Capitol Center 24 LLC                                         Contingent
          2711 Centerville Rd., Suite 400
                                                                                Unliquidated
          Wilmington, DE 19808
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NNN 400 Capitol Center 25, LLC                                        Contingent
          (Richard and Marilyn Snapp)
                                                                                Unliquidated
          10100 Neahkahnie Creek Rd.
          Manzanita, OR 97130                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NNN 400 Capitol Center 27 LLC                                         Contingent
          2711 Centerville Rd., Suite 400
                                                                                Unliquidated
          Wilmington, DE 19808
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NNN 400 Capitol Center 28 LLC                                         Contingent
          2711 Centerville Rd., Suite 400
                                                                                Unliquidated
          Wilmington, DE 19808
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NNN 400 Capitol Center 3 LLC                                          Contingent
          2711 Centerville Rd., Suite 400
                                                                                Unliquidated
          Wilmington, DE 19808
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NNN 400 Capitol Center 30, LLC                                        Contingent
          (First Guardian Group)
                                                                                Unliquidated
          777 North First St., Suite 720
          San Jose, CA 95115                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NNN 400 Capitol Center 32 LLC                                         Contingent
          2711 Centerville Rd., Suite 400
                                                                                Unliquidated
          Wilmington, DE 19808
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NNN 400 Capitol Center 35, LLC
          (Est. of Charles Hawk) c/o A Aherns                                   Contingent
          Washington Trust Bank                                                 Unliquidated
          601 Union Street                                                      Disputed
          Seattle, WA 98101
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NNN 400 Capitol Center 36, LLC                                        Contingent
          (Ruth Copit)
                                                                                Unliquidated
          30 Rushingwind Drive
          Irvine, CA 95401                                                      Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       NNN 400 Capitol Center 26, LLC                                                          Case number (if known)            16-12747
              Name

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NNN 400 Capitol Center 4 LLC                                          Contingent
          2711 Centerville Rd., Suite 400
                                                                                Unliquidated
          Wilmington, DE 19808
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NNN 400 Capitol Center 5 LLC                                          Contingent
          2711 Centerville Rd., Suite 400
                                                                                Unliquidated
          Wilmington, DE 19808
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NNN 400 Capitol Center 6 LLC                                          Contingent
          2711 Centerville Rd., Suite 400
                                                                                Unliquidated
          Wilmington, DE 19808
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NNN 400 Capitol Center 7, LLC                                         Contingent
          (Ruth Copit)
                                                                                Unliquidated
          37 Ponderosa Circle
          Palm Desert, CA 00092-2111                                            Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NNN 400 Capitol Center 8, LLC                                         Contingent
          (Joan M. Groff)
                                                                                Unliquidated
          2820 Stromboli Road
          Costa Mesa, CA 92626                                                  Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NNN 400 Capitol Center 9 LLC                                          Contingent
          2711 Centerville Rd., Suite 400
                                                                                Unliquidated
          Wilmington, DE 19808
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          NNN 400 Capitol Center, LLC                                           Contingent
          (First Guardian Group)
                                                                                Unliquidated
          777 North First St., Suite 720
          San Jose, CA 95115                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       NNN 400 Capitol Center 26, LLC                                                          Case number (if known)            16-12747
              Name

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,640.54
          OTIS Elevator Company                                                 Contingent
          P.O. BOX 730400                                                       Unliquidated
          Dallas, TX 75373                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $222.00
          Pitney Bowes Global Financial Svcs.                                   Contingent
          2222 Cottondale Lane, #110                                            Unliquidated
          Little Rock, AR 72202
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Pitney Bowes Purchase Power                                           Contingent
          P.O. Box 371874+B34                                                   Unliquidated
          Pittsburgh, PA 15250
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $493.50
          Plantation Services Inc.                                              Contingent
          P.O. Box 241006                                                       Unliquidated
          Little Rock, AR 72223                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $346.62
          Powers Mechanical Service Co.                                         Contingent
          P.O. Box 8106                                                         Unliquidated
          Little Rock, AR 72203                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,012.50
          Qauttlebaum Grooms Tull & Burrow                                      Contingent
          111 Center Street                                                     Unliquidated
          Little Rock, AR 72201                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $565.00
          R&S Landscaping                                                       Contingent
          2711 Crooked Stick Lane                                               Unliquidated
          Benton, AR 72019                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Randall Lynch                                                         Contingent
          1705 Ocean Avenue, Unit 309                                           Unliquidated
          Santa Monica, CA 90401                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Rod Fagundes                                                          Contingent
          2130 Laguna Road                                                      Unliquidated
          Santa Rosa, CA 95401                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30.51
          Shred It US JV LLC                                                    Contingent
          7705 Northshore Place                                                 Unliquidated
          North Little Rock, AR 72118                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Snyder Environmental                                                  Contingent
          7031 Dewafflebakers Lane                                              Unliquidated
          North Little Rock, AR 72113                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Stanley Abrhamson                                                     Contingent
          9041 NW 10th                                                          Unliquidated
          Plantation, FL 33322                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $508.55
          Staples Advantage                                                     Contingent
          PO Box 83689                                                          Unliquidated
          Chicago, IL 60696                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Suzanne Hill                                                          Contingent
          150 S. Bowie Street                                                   Unliquidated
          Jasper, TX 75951                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       NNN 400 Capitol Center 26, LLC                                                          Case number (if known)            16-12747
              Name

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $313.92
          Terminix Processing Center                                            Contingent
          PO Box 74592                                                          Unliquidated
          Cincinnati, OH 45274                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $125.00
          Triple-S Alarm Company Inc.                                           Contingent
          2820 Cantrell Road                                                    Unliquidated
          Little Rock, AR 72202                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Vazgen K. Babaian                                                     Contingent
          1313 Valley View Road, Apt. 14                                        Unliquidated
          Glendale, CA 91202                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Vito and Josephine Coraci                                             Contingent
          6104 Copper Rose Street NE                                            Unliquidated
          Albuquerque, MN 87111                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Waste Management                                                      Contingent
          PO Box 43410                                                          Unliquidated
          Phoenix, AZ 85080                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Water Treatment Servies                                               Contingent
          PO Box 910                                                            Unliquidated
          Alexander, AR 72002                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Wes Litzinger                                                         Contingent
          495 Locust Street                                                     Unliquidated
          Laguna Beach, CA 92651                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       NNN 400 Capitol Center 26, LLC                                                          Case number (if known)            16-12747
              Name

 3.89      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $24,753.00
           Wes Litzinger - TIC Loan 1                                           Contingent
           495 Locust Street                                                    Unliquidated
           Laguna Beach, CA 92651                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.90      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $19,575.42
           Whelan Security Co. Inc.                                             Contingent
           PO Box 843886                                                        Unliquidated
           Kansas City, MO 64184                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                       786,194.40

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          786,194.40




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Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
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 Fill in this information to identify the case:

 Debtor name         NNN 400 Capitol Center 26, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         16-12747
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.        State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining                                            Airfirst, Inc.
                                                                                      400 West Capitol Avenue
             List the contract number of any                                          Suite 2878
                   government contract                                                Little Rock, AR 72201


 2.2.        State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining                                            Anderson, Murphy & Hopkins LLP
                                                                                      400 West Capitol Avenue
             List the contract number of any                                          Suite 2400
                   government contract                                                Little Rock, AR 72201


 2.3.        State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining                                            ARCARE
                                                                                      400 West Capitol Avenue
             List the contract number of any                                          Suite 2910
                   government contract                                                Little Rock, AR 72201


 2.4.        State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building
                                                                                      Arkansas Anti-Aging, PA d/b/a
                  State the term remaining                                            BodyLogicMD of Little Rock
                                                                                      400 West Capitol Avenue
             List the contract number of any                                          Suite 1321
                   government contract                                                Little Rock, AR 72201




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 8
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 Debtor 1 NNN 400 Capitol Center 26, LLC                                                          Case number (if known)   16-12747
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

 2.5.        State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining
                                                                                          Arkansas Blue Cross & Blue Shield
             List the contract number of any                                              400 West Capitol Avenue
                   government contract                                                    Little Rock, AR 72201


 2.6.        State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining                                                Arkansas Fitness, LLC
                                                                                          400 West Capitol Avenue
             List the contract number of any                                              Suite 303
                   government contract                                                    Little Rock, AR 72201


 2.7.        State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building
                                                                                          Arkansas Workers' Compensation
                  State the term remaining                                                Commission
                                                                                          400 West Capitol Avenue
             List the contract number of any                                              Suite 2690
                   government contract                                                    Little Rock, AR 72201


 2.8.        State what the contract or                   Contract for phone
             lease is for and the nature of               service at Regions
             the debtor's interest                        Center Building

                  State the term remaining
                                                                                          AT&T
             List the contract number of any                                              P.O Box 105414
                   government contract                                                    Atlanta, GA 30348


 2.9.        State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining
                                                                                          BKD, LLP
             List the contract number of any                                              400 West Capitol Avenue
                   government contract                                                    Little Rock, AR 72201


 2.10.       State what the contract or                   Contract for
             lease is for and the nature of               water/sewer service at
             the debtor's interest                        Regions Center
                                                          Building
                  State the term remaining                                                Central Arkansas Water
                                                                                          P O Box 36753
             List the contract number of any                                              Charlotte, NC 28236
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                         Page 2 of 8
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 Debtor 1 NNN 400 Capitol Center 26, LLC                                                          Case number (if known)   16-12747
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

                    government contract


 2.11.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining                                                Chisenhall, Nestrud & Julian, P.A.
                                                                                          400 West Capitol Avenue
             List the contract number of any                                              Suite 2842
                   government contract                                                    Little Rock, AR 72201


 2.12.       State what the contract or                   Contract for cable
             lease is for and the nature of               service at Regions
             the debtor's interest                        Center Building

                  State the term remaining
                                                                                          Comcast
             List the contract number of any                                              P.O Box 530098
                   government contract                                                    Atlanta, GA 30353-0098


 2.13.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining                                                Design Group Marketing LLC
                                                                                          400 West Capitol Avenue
             List the contract number of any                                              Suite 1802
                   government contract                                                    Little Rock, AR 72201


 2.14.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining                                                Disability Rights Arkansas, Inc.
                                                                                          400 West Capitol Avenue
             List the contract number of any                                              Suite 1200
                   government contract                                                    Little Rock, AR 72201


 2.15.       State what the contract or                   Contract for electricity
             lease is for and the nature of               service at Regions
             the debtor's interest                        Center Building

                  State the term remaining
                                                                                          Entergy
             List the contract number of any                                              P.O. Box 8101
                   government contract                                                    Baton Rouge, LA 70891


 2.16.       State what the contract or                   Property and Asset              FGG, Inc. d/b/a
             lease is for and the nature of               Management                      First Guardian Group
             the debtor's interest                        Agreement for Regions           777 North First St., Suite 720
                                                          Center Building                 San Jose, CA 95115
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                         Page 3 of 8
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 Debtor 1 NNN 400 Capitol Center 26, LLC                                                          Case number (if known)   16-12747
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.17.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining
                                                                                          Franke's Inc.
             List the contract number of any                                              400 West Capitol Avenue
                   government contract                                                    Little Rock, AR 72201


 2.18.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining                                                G&G Hospitality LLC
                                                                                          400 West Capitol Avenue
             List the contract number of any                                              Suite 1803
                   government contract                                                    Little Rock, AR 72201


 2.19.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining                                                GDH Consulting, Inc.
                                                                                          400 West Capitol Avenue
             List the contract number of any                                              Suite 1604
                   government contract                                                    Little Rock, AR 72201


 2.20.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining                                                Ghidotti Communications LLC
                                                                                          400 West Capitol Avenue
             List the contract number of any                                              Suite 2979
                   government contract                                                    Little Rock, AR 72201


 2.21.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining                                                ING North America Insurance Corp.
                                                                                          400 West Capitol Avenue
             List the contract number of any                                              Suite 1611
                   government contract                                                    Little Rock, AR 72201




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                         Page 4 of 8
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 Debtor 1 NNN 400 Capitol Center 26, LLC                                                          Case number (if known)   16-12747
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

 2.22.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining                                                Kiski Legal LLC
                                                                                          400 West Capitol Avenue
             List the contract number of any                                              Suite 101
                   government contract                                                    Little Rock, AR 72201


 2.23.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining                                                Matthew L. White
                                                                                          400 West Capitol Avenue
             List the contract number of any                                              Suite 2891
                   government contract                                                    Little Rock, AR 72201


 2.24.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining                                                Morrison and Associates
                                                                                          400 West Capitol Avenue
             List the contract number of any                                              Suite 100D
                   government contract                                                    Little Rock, AR 72201


 2.25.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining                                                Munson, Rowlett, Moore & Boone, PA
                                                                                          400 West Capitol Avenue
             List the contract number of any                                              Suite 1900
                   government contract                                                    Little Rock, AR 72201


 2.26.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building
                                                                                          Rasco, Winter, Abston, Moore
                  State the term remaining                                                & Associates LLP
                                                                                          400 West Capitol Avenue
             List the contract number of any                                              Suite 1624
                   government contract                                                    Little Rock, AR 72201


 2.27.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining                                                Regions Bank
                                                                                          400 West Capitol Avenue
             List the contract number of any                                              Little Rock, AR 72201
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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

                    government contract


 2.28.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining                                                RGN-Little Rock I, LLC
                                                                                          400 West Capitol Avenue
             List the contract number of any                                              Suite 1700
                   government contract                                                    Little Rock, AR 72201


 2.29.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining                                                Richard A. Stephens & Associates Inc.
                                                                                          400 West Capitol Avenue
             List the contract number of any                                              Suite 1222
                   government contract                                                    Little Rock, AR 72201


 2.30.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining                                                Southwestern Electric Power Company
                                                                                          400 West Capitol Avenue
             List the contract number of any                                              Suite 1610
                   government contract                                                    Little Rock, AR 72201


 2.31.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining                                                Spectra7 Microsystems Ltd.
                                                                                          400 West Capitol Avenue
             List the contract number of any                                              Suite 2380
                   government contract                                                    Little Rock, AR 72201


 2.32.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining                                                Steel, Wright & Collier, PLLC
                                                                                          400 West Capitol Avenue
             List the contract number of any                                              Suite 2910
                   government contract                                                    Little Rock, AR 72201


 2.33.       State what the contract or                   Lease Agreement for             TEKsystems, Inc.
             lease is for and the nature of               office space at Regions         400 West Capitol Avenue
             the debtor's interest                        Center Building                 Suite 2940
                                                                                          Little Rock, AR 72201
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                         Page 6 of 8
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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.34.       State what the contract or                   Tenants-in-Common
             lease is for and the nature of               Agreement for Regions
             the debtor's interest                        Center Building
                                                                                          Tenants-in-Common of Regions Center
                  State the term remaining                                                c/o Robert W. Dyess, Jr., Esq.
                                                                                          Good Wildman
             List the contract number of any                                              19000 MacArthur Blvd., Suite 575
                   government contract                                                    Irvine, CA 92612


 2.35.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining                                                The Communications Group, Inc.
                                                                                          400 West Capitol Avenue
             List the contract number of any                                              Suite 1391
                   government contract                                                    Little Rock, AR 72201


 2.36.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining
                                                                                          The Little Rock Club, Inc.
             List the contract number of any                                              400 West Capitol Avenue
                   government contract                                                    Little Rock, AR 72201


 2.37.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining
                                                                                          Twentieth Floor Corporation
             List the contract number of any                                              400 West Capitol Avenue
                   government contract                                                    Little Rock, AR 72201


 2.38.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining                                                W. Lyn Fruchey d/b/a
                                                                                          Freiderica's Pharmacy & Collection
             List the contract number of any                                              400 West Capitol Avenue
                   government contract                                                    Little Rock, AR 72201




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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

 2.39.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining                                                Washington Barber College, Inc.
                                                                                          400 West Capitol Avenue
             List the contract number of any                                              Suite 1600
                   government contract                                                    Little Rock, AR 72201


 2.40.       State what the contract or                   Contract for waste
             lease is for and the nature of               management at
             the debtor's interest                        Regions Center
                                                          Building
                  State the term remaining
                                                                                          Waste Management of Little Rock Hauling
             List the contract number of any                                              PO Box 43410
                   government contract                                                    Phoenix, AZ 85080


 2.41.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining                                                Whelan Security Co.
                                                                                          400 West Capitol Avenue
             List the contract number of any                                              Suite 2850
                   government contract                                                    Little Rock, AR 72201


 2.42.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining
                                                                                          Wilson & Associates, PLLC
             List the contract number of any                                              400 West Capitol Avenue
                   government contract                                                    Little Rock, AR 72201


 2.43.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               office space at Regions
             the debtor's interest                        Center Building

                  State the term remaining                                                Wittenberg, Delony & Davidson Inc.
                                                                                          400 West Capitol Avenue
             List the contract number of any                                              Suite 1800
                   government contract                                                    Little Rock, AR 72201




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 Fill in this information to identify the case:

 Debtor name         NNN 400 Capitol Center 26, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         16-12747
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      All NNN 400                       2711 Centerville Rd., Suite 400                   Wells Fargo Bank                   D   2.1
             Capitol Center                    Wilmington, DE 19808                              N.A. as Trustee                    E/F
             TIC investors
                                                                                                                                    G




Official Form 206H                                                         Schedule H: Your Codebtors                                         Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         NNN 400 Capitol Center 26, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         16-12747
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                             $6,653,934.77
       From 1/01/2016 to Filing Date
                                                                                                   Other    Other


       For prior year:                                                                             Operating a business                             $8,346,676.24
       From 1/01/2015 to 12/31/2015
                                                                                                   Other    Other


       For year before that:                                                                       Operating a business                             $7,571,114.67
       From 1/01/2014 to 12/31/2014
                                                                                                   Other    Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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 Debtor       NNN 400 Capitol Center 26, LLC                                                            Case number (if known) 16-12747



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               CBM Construction                                            12/7/2016                        $22,000.00            Secured debt
                                                                                                                                  Unsecured loan repayments
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other

       3.2.
               Crafton Tull                                                10/7/2016                          $7,500.00           Secured debt
                                                                                                                                  Unsecured loan repayments
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other

       3.3.
               Cromwell Architects                                         11/4/2016                          $6,667.50           Secured debt
                                                                                                                                  Unsecured loan repayments
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other

       3.4.
               D&N Construction                                            11/4/2016 -                      $84,178.00            Secured debt
                                                                           12/7/2016                                              Unsecured loan repayments
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other

       3.5.
               Entergy                                                     10/31/2016                       $68,651.74            Secured debt
                                                                                                                                  Unsecured loan repayments
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other

       3.6.
               JGP                                                         12/7/2016                          $7,500.00           Secured debt
                                                                                                                                  Unsecured loan repayments
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other

       3.7.
               JK Janitorial Services                                      11/4/2016                        $27,238.78            Secured debt
                                                                                                                                  Unsecured loan repayments
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other

       3.8.
               Moses Tucker Real Estate                                    10/4/2016 -                      $86,157.89            Secured debt
               200 River Market Ave., Suite 501                            12/6/2016                                              Unsecured loan repayments
               Little Rock, AR 72201                                                                                              Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other

       3.9.
               OTIS                                                        11/4/2016                        $11,355.28            Secured debt
                                                                                                                                  Unsecured loan repayments
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other



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       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.10
       .
            Quattlebaum, Grooms, Tull and Burrow                           11/4/2016 -                      $31,478.25                Secured debt
                                                                           11/11/2016                                                 Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other

       3.11
       .
            Regus                                                          11/11/2016                       $68,763.00                Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other

       3.12
       .
            Rubin and Rubin                                                11/4/2016 -                      $69,000.00                Secured debt
                                                                           11/9/2016                                                  Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other

       3.13
       .
            Utility Billing Services                                       11/4/2016 -                      $23,152.85                Secured debt
                                                                           12/7/2016                                                  Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other

       3.14
       .
            Whelan Security                                                10/7/2016 -                      $19,119.97                Secured debt
                                                                           11/4/2016                                                  Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    See Attachment                                                                                      $0.00


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

       Creditor's name and address                               Describe of the Property                                      Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.



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 Debtor       NNN 400 Capitol Center 26, LLC                                                                Case number (if known) 16-12747



           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case               Court or agency's name and             Status of case
               Case number                                                                    address
       7.1.    Wells Fargo Bank, N.A., as                        Foreclosure -                Circuit Court of Pulaski                     Pending
               Trustee v. NNN 400 Capitol                        Stayed                       County Arkansas                              On appeal
               Center, LLC, et. al.                                                           401 West Markham Street                      Concluded
               Case No. 60CV-16-6167                                                          Little Rock, AR 72201


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                 Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                  Dates of loss               Value of property
       how the loss occurred                                                                                                                                        lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).
       Electrical Claim- Lightning struck                        $0.00                                                     March 2016                      $251,000.00
       the building and caused the 4000
       amp switchgear to become
       unserviceable. The claim has been
       approved and we are working thru
       lien waivers to be able to begin the
       work.


 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

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 Debtor        NNN 400 Capitol Center 26, LLC                                                            Case number (if known) 16-12747



                Who was paid or who received                         If not money, describe any property transferred           Dates            Total amount or
                the transfer?                                                                                                                            value
                Address
       11.1.                                                                                                                   11/29/2016 -
                Whiteford, Taylor & Preston                                                                                    $50,000 -
                LLC                                                                                                            Retainer
                The Renaissance Centre                                                                                         12/09/2016 -
                405 North King Street, Suite                                                                                   $41,208 -
                500                                                                                                            For Filing
                Wilmington, DE 19801                                                                                           Fees                 $91,208.00

                Email or website address


                Who made the payment, if not debtor?




       11.2.                                                                                                                   11/17/2016 -
                                                                                                                               Retainer
                                                                                                                               $91,208
                                                                                                                               passed
                                                                                                                               through to
                                                                                                                               Whiteford,
                Rubin and Rubin, P.A.                                                                                          Taylor &
                1649 Atlantic Boulevard                                                                                        Preston
                Jacksonville, FL 32207                                                                                         LLC                $166,234.93

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers           Total amount or
                                                                                                                      were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer          Total amount or
               Address                                           payments received or debts paid in exchange             was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

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 Debtor      NNN 400 Capitol Center 26, LLC                                                             Case number (if known) 16-12747




15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own




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21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None




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       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26a.1.       Alexander Elezovic                                                                                                    2014 - Present
                    Housman, Bloch & Elezovic
                    399 Knollwood Rd., Suite 311
                    White Plains, NY 10603
       26a.2.       Moses Tucker Real Estate                                                                                              Kathy: 03/2014 thru
                    Attn: Kathy Beaston, CFO                                                                                              06/2015
                    Mike Stevenson, Controller                                                                                            Mike: 07/2015 thru
                    200 River Market Ave., Suite 501                                                                                      Present
                    Little Rock, AR 72201

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

                None

       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.1.       Moses Tucker Real Estate
                    200 River Market Ave., Suite 501
                    Little Rock, AR 72201

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

                None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Z. Eidel Realty LLC, a New York
                    Limited Liability Company
                    c/o Michael Eidel
                    4724 Essex Drive
                    Doylestown, PA 18902
       26c.2.       Moses Tucker Real Estate
                    200 River Market Ave., Suite 501
                    Little Rock, AR 72201

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

                None

       Name and address
       26d.1.       Seth Denison, Esq.
                    Managing Director
                    Hart Advisors Group, LLC
                    2 Alhambra Plaza, Suite 620
                    Miami, FL 33134
       26d.2.       Arvest


       26d.3.       Simmons


       26d.4.       Mark McLarty




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       Name and address
       26d.5.       Calmwater Capital
                    11755 Wilshire Boulevard
                    Suite 1425
                    Los Angeles, CA 90025
       26d.6.       UBS
                    1285 Avenue of the Americas
                    11th Floor
                    New York, NY 10019
       26d.7.       Deutsche


       26d.8.       First Security


       26d.9.       Regions


       26d.10.      Enterprise Financial


       26d.11.      CBRE


       26d.12.      Berkadia


       26d.13.      Avison Young


       26d.14.      CMS-Mitchell Sweet


       26d.15.      Horowitz


       26d.16.      FGG



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Z. Eidel Realty, LLC, a New                    Limited Liaibility Company                          Member                                100%
       York                                           c/o Michael Eidel
                                                      4724 Essex Drive
                                                      Doylestown, PA 18902


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
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    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 See Question 4.
       .

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         January 14, 2017

 /s/ Michael Eidel                                                      Michael Eidel as Attorney-In-Fact for Doris Eidel, on behalf of Z. Eidel
                                                                        Realty, LLC a New York LLC

 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                             Regions Center (reg)

                                           General Ledger
                                          Period = Jan 2016-Dec 2016
                                                   Book = Cash
                                                   Sort On =
Property    Property Name    Date        Period     Person/Description                                    Debit
3300-3015                                           Distributions TIC
reg         Regions Center   4/10/2016   04-2016    NNN 400 Capitol Center 4, LLC (nnn04)                903.63
reg         Regions Center   4/10/2016   04-2016    NNN 400 Capitol Center 15, LLC (nnn15)              1,091.89
reg         Regions Center   4/10/2016   04-2016    NNN 400 Capitol Center 21, LLC (nnn21)               992.19
reg         Regions Center   4/10/2016   04-2016    NNN 400 Capitol Center 26, LLC (nnn26)              1,054.24
reg         Regions Center   4/10/2016   04-2016    NNN 400 Capitol Center 28, LLC (nnn28)              1,807.26
reg         Regions Center   4/10/2016   04-2016    NNN 400 Capitol Center 32, LLC (nnn32)               828.33
reg         Regions Center   4/10/2016   04-2016    NNN 400 Capitol Center 36, LLC (nnn36)               894.29
reg         Regions Center   4/10/2016   04-2016    NNN 400 Capitol Center 1, LLC (nnn01)                865.98
reg         Regions Center   4/10/2016   04-2016    NNN 400 Capitol Center 3, LLC (nnn03)                715.37
reg         Regions Center   4/10/2016   04-2016    NNN 400 Capitol Center 6, LLC (nnn06)                865.98
reg         Regions Center   4/10/2016   04-2016    NNN 400 Capitol Center 7, LLC (nnn07)                715.37
reg         Regions Center   4/10/2016   04-2016    NNN 400 Capitol Center 8, LLC (nnn08)                489.47
reg         Regions Center   4/10/2016   04-2016    NNN 400 Capitol Center 9, LLC (nnn09)                790.68
reg         Regions Center   4/10/2016   04-2016    NNN 400 Capitol Center 10, LLC (nnn10)              1,769.61
reg         Regions Center   4/10/2016   04-2016    NNN 400 Capitol Center 11, LLC (nnn11)               564.77
reg         Regions Center   4/10/2016   04-2016    NNN 400 Capitol Center 12, LLC (nnn12)               564.77
reg         Regions Center   4/10/2016   04-2016    NNN 400 Capitol Center 13, LLC (nnn13)               903.63
reg         Regions Center   4/10/2016   04-2016    NNN 400 Capitol Center 14, LLC (nnn14)              1,054.24
reg         Regions Center   4/10/2016   04-2016    NNN 400 Capitol Center 16, LLC (nnn16)              2,108.47
reg         Regions Center   4/10/2016   04-2016    NNN 400 Capitol Center 17, LLC (nnn17)               451.82
reg         Regions Center   4/10/2016   04-2016    NNN 400 Capitol Center 19, LLC (nnn19)               414.16
reg         Regions Center   4/10/2016   04-2016    NNN 400 Capitol Center 20, LLC (nnn20)               941.28
reg         Regions Center   4/10/2016   04-2016    Bradford H Bodley (nnn22)                            734.95
reg         Regions Center   4/10/2016   04-2016    NNN 400 Capitol Center 24, LLC (nnn24)               715.37
reg         Regions Center   4/10/2016   04-2016    NNN 400 Capitol Center 25, LLC (nnn25)               527.12
reg         Regions Center   4/10/2016   04-2016    Aldridge (nnn30ald)                                   50.06
reg         Regions Center   4/10/2016   04-2016    Hall (nnn30hal)                                       50.06
reg         Regions Center   4/10/2016   04-2016    Keller (nnn30kel)                                     50.06

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                                               Regions Center (reg)

                                             General Ledger
                                            Period = Jan 2016-Dec 2016
                                                     Book = Cash
                                                     Sort On =
Property    Property Name    Date          Period     Person/Description                                              Debit
reg         Regions Center   4/10/2016     04-2016    Milne (nnn30mil)                                                50.06
reg         Regions Center   4/29/2016     04-2016    Raymond O. Vincenti Family Trust (nnn02)                      2,786.19
reg         Regions Center   4/29/2016     04-2016    Douglas & Katherine Bade Limited Partnership (nnn05)           451.82
reg         Regions Center   4/29/2016     04-2016    NNN 400 Capitol Center 18, LLC (nnn18)                         790.69
reg         Regions Center   4/29/2016     04-2016    Allison (nnn30all)                                              50.06
reg         Regions Center   4/29/2016     04-2016    The Baumer Family Trust (nnn30bau)                              50.06
reg         Regions Center   4/29/2016     04-2016    Duffy (nnn30duf)                                                94.97
reg         Regions Center   4/29/2016     04-2016    Marc Ettinger, Trustee (nnn30gas)                               50.06
reg         Regions Center   4/29/2016     04-2016    Orbadore (nnn30orb)                                             50.06
reg         Regions Center   4/29/2016     04-2016    Charles Hawk, LLC (nnn35)                                      271.09
reg         Regions Center   4/29/2016     04-2016    GM Limited Investments LLC (gmlimit)                           903.63
                                                       Net Change=28,463.74                                       28,463.74


3300-3028                                             Distributions LLC
reg         Regions Center   3/9/2016      03-2016    Gattis- ACH for 11/2015 & 12/2015                              187.50
reg         Regions Center   4/10/2016     04-2016    Arya (aryah)                                                    22.15
reg         Regions Center   4/10/2016     04-2016    Arya (aryan)                                                    22.15
reg         Regions Center   4/10/2016     04-2016    Dicker (dicker)                                                 88.59
reg         Regions Center   4/10/2016     04-2016    Pamela K. Gattis (gattis)                                       44.30
reg         Regions Center   4/10/2016     04-2016    Kane (kane)                                                    177.19
reg         Regions Center   4/10/2016     04-2016    Mazzanti (mazzant)                                              66.44
reg         Regions Center   4/10/2016     04-2016    Moffitt (moffit)                                               124.03
reg         Regions Center   4/10/2016     04-2016    Rachman (rachman)                                               17.72
reg         Regions Center   4/10/2016     04-2016    Thomas (thomas)                                                 48.15
reg         Regions Center   4/10/2016     04-2016    Tidwell (tidwell)                                               42.52
reg         Regions Center   4/10/2016     04-2016    Tullis (tullis)                                                 44.30
reg         Regions Center   4/29/2016     04-2016    Bighley as JTWROS (bighley)                                     88.59
reg         Regions Center   4/29/2016     04-2016    Cingolani Rev Tr dtd 8/5/04 SPZ305518 (cingoian)                44.30
reg         Regions Center   4/29/2016     04-2016    Restated Garber Family Trust 1978 (garber)                      44.30

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                                            Regions Center (reg)

                                          General Ledger
                                         Period = Jan 2016-Dec 2016
                                                  Book = Cash
                                                  Sort On =
Property   Property Name    Date        Period     Person/Description                                         Debit
reg        Regions Center   4/29/2016   04-2016    Lindenbaum (lindenba)                                     256.90
reg        Regions Center   4/29/2016   04-2016    Massetti SNM183400 (massetti)                             177.17
reg        Regions Center   4/29/2016   04-2016    FBO David Mullenax, Acct : IRA486188 (mullenax)            67.33
reg        Regions Center   4/29/2016   04-2016    Posner (posner)                                            44.30
reg        Regions Center   4/29/2016   04-2016    Post (post)                                                45.01
reg        Regions Center   4/29/2016   04-2016    Schneider (schneide)                                       44.30
reg        Regions Center   4/29/2016   04-2016    Schwartz (schwartz)                                        23.48
reg        Regions Center   4/29/2016   04-2016    Steinhardt (steinhar)                                      26.58
reg        Regions Center   4/29/2016   04-2016    Tollefson Husb & Wife as CP (tollefso)                     44.30
reg        Regions Center   4/29/2016   04-2016    Weiss Rev Liv Tr dtd 1/8/10 (weiss)                        53.16
                                                    Net Change=1,844.76                                    1,844.76


                                                                                                          30,308.50




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